     Case 3:19-cv-01128-WQH-BGS Document 1 Filed 06/17/19 PageID.1 Page 1 of 7



     Justin Prato Esq, SBN 246968
1    PRATO & REICHMAN, APC
     8555 Aero Drive, Suite 303
2    San Diego, CA 92123
     Telephone: 619-886-0252
3    Facsimile: 619-241-8309
4    Attorney for Plaintiff
5

6

7                             UNITED STATES DISTRICT COURT
8                          SOUTHERN DISTRICT OF CALIFORNIA
9
      VIRGIL M. LORENZO,                                      Case No.:       '19CV1128 WQHBGS
10
                                                              COMPLAINT FOR DAMAGES,
11                    Plaintiff,                              INCLUDING, INTEREST AND
                                                              ATTORNEY’S FEES FOR
12            vs.                                             VIOLATION OF TITLE VII OF
                                                              THE 1964 CIVIL RIGHTS ACT,
13                                                            AS AMENDED, AGE
      PATRICK M. SHANAHAN,                                    DISCRIMINATION IN
14                                                            EMPLOYMENT ACT, AND
       Acting Secretary,                                      THE REHABILITATION ACT
15                                                            OF 1973, AS AMENDED.
16    Department of Defense,
17
                                                                      Jury Demanded

18
                      Defendants.
19

20
                                                   COMPLAINT
21

22
            COMES NOW Plaintiff VIRGIL M. LORENZO (hereinafter referred to as
23
      “Plaintiff” or “Mr. Lorenzo”) who alleges as follows:
24

25
                               JURISDICTIONAL ALLEGATIONS
26
              1.    Plaintiff is currently a resident of the County of San Diego, State of
27
      California during all relevant times to this Complaint.
28



                                                        -1-
     ________________________________________________________________________________________________________

                                                    Complaint
     Case 3:19-cv-01128-WQH-BGS Document 1 Filed 06/17/19 PageID.2 Page 2 of 7




1             2.    Defendant, PATRICK M. SHANAHAN is the Acting Secretary of the
2     Department of Defense (“Agency”), and at this time services as the head of the
3     Agency a department of the United States government.
4             3.    At all times relevant to the complaint, the Plaintiff worked for the
5     Department of Defense.
6             4.    This case is filed pursuant to the Title VII of the 1964 Civil Rights Act,
7     As Amended (“Title VII”), the Age Discrimination in Employment Act
8     (“ADEA”) and the Rehabilitation Act of 1973.
9             5.    This case is timely as the Plaintiff in this case has filed all
10    administrative complaints within forty-five (45) days of the date of the alleged
11    discriminatory act as required by law.
12            6.    The Plaintiff has fulfilled his obligation to pursue administrative
13    remedies in this case as he filed all of his administrative complaints with the
14    Defendant and they were processed by the Defendant in accordance with 42 USC
15    2000e-16(c).
16            7.    Plaintiff received the EEOC’s final decision on his reconsideration
17    request on or about March 17, 2019, which provided him ninety (90) days to file
18    his claim in Federal District Court.
19            8.    This Complaint is timely as it was filed within the ninety (90) days of
20    receipt of the Final Agency Decision that was required in order to file suit.
21            9.    At all times herein mentioned each member of the Defendant’s
22    management was using their authority as a manager or human recourses to
23    effectuate the discrimination and harassment of the Plaintiff.
24

25                                      FACTUAL SUMMARY
26

27                  10.     On the week of August 25, 2010, I was one of four teachers that
28   Mr. Grade hired to teach at Lester Middle School, Camp Lester, Okinawa, Japan.

                                                        -2-
     ________________________________________________________________________________________________________

                                                    Complaint
     Case 3:19-cv-01128-WQH-BGS Document 1 Filed 06/17/19 PageID.3 Page 3 of 7




1                   11.     I was a returning DOD Dependent Schools teacher, having
2    taught high school science in Mannheim and Heidelberg, Germany, but was placed
3    among six teachers on a two-year Provisional Level contract because I was away
4    for more than two years.
5                   12.     Like the six teachers at Lester Middle School and all
6    Provisional Level teachers in DODDS in August, 2010, I had the opportunity to
7    advance to the Professional Level if Mr. Grade appraised my performance as
8    satisfactory.
9                   13.     The Education Performance Appraisal System (EPAS) defined
10   for Mr. Grade and me the source of data upon which to base his appraisal, namely,
11   from three formal observations, two of which were announced, the third
12   unannounced.
13                  14.     On the week of December 15, 2010, Mr. Grade appraised my
14   performance as unsatisfactory and fired me without conducting any formal
15   observation. Mr. Grade abused his authority and I filed an EEO complaint.
16                  15.     I was discriminated against because I was deaf on one ear and
17   was hard of hearing, about which Mr. Grade asked me on our first meeting three
18   weeks into the school year.
19                  16.     My deaf ear affects my daily life and living activities.
20                  17.     The Agency was aware of my deafness at the time of
21   termination.
22                  18.     I was discriminated against in my termination due to my
23   disability.
24                  19.      I was also 65 years old and felt that Mr. Grade was reacting to
25   comments from one parent that he hired a “deaf old man.”
26                  20.     The Agency was aware of my age at the time of my
27   termination.
28                  21.     I was discriminated against in my termination due to my age.

                                                        -3-
     ________________________________________________________________________________________________________

                                                    Complaint
     Case 3:19-cv-01128-WQH-BGS Document 1 Filed 06/17/19 PageID.4 Page 4 of 7




1                   22.     I am also Filipino and I felt that Mr. Grade fired me because a
2    Caucasian mom from the U.S. Southeast took offense at my comment on the
3    undesirable effects of a two-week extended Thanksgiving break on her son’s
4    school performance.
5                   23.     The Agency was aware of my race and national origin at the
6    time of my termination.
7                   24.     was discriminated against in my termination due to my national
8    origin and race.
9

10                                   FIRST CAUSE OF ACTION
11               [Discrimination on the basis of Race/National Origin- Title VII]
12          25. Plaintiff re-alleges all paragraphs above and incorporates them herein
13   by reference.
14          26. Plaintiff is bringing this action pursuant to the provisions of Title VII.
15          27. Under Title VII, an employer, including the Federal Government, is
16   not permitted to discriminate against an employee on the basis of their race or
17   national origin in making employment decisions.
18          28. Based on the facts above, Plaintiff can show that the Agency
19   terminated him due to his race and/or national origin.
20          29. As the Plaintiff can show the above elements of his claim, he can prove
21   his prima facie case.
22          30. Additionally, as shown in the facts stated above, the Defendant did not
23   remedy any discrimination that was reported by the Plaintiff.
24          31. The Defendant does not have a legitimate non-discriminatory reason to
25   justify its actions, based on the facts alleged.
26          32. Even if the Defendant’s produce a reason for the discriminatory
27   actions, that reason is simply pretext for discrimination Based on the facts alleged.
28



                                                        -4-
     ________________________________________________________________________________________________________

                                                    Complaint
     Case 3:19-cv-01128-WQH-BGS Document 1 Filed 06/17/19 PageID.5 Page 5 of 7




1           33. Based on the above these actions constituted discrimination, to which
2    the Plaintiff suffered damages as the proximate cause, and as such Plaintiff is
3    entitled to damages as prayed for below.
4

5                                  SECOND CAUSE OF ACTION
6                 [Discrimination on the basis of Race/National Origin- ADEA]
7           34. Plaintiff realleges all paragraphs above and incorporates them herein
8    by reference.
9           35. Plaintiff is bringing this action pursuant to the provisions of the
10   Rehabilitation Act.
11          36. This cause of action is also filed pursuant to the ADEA.
12          37. Under the ADEA, an employer, including the Federal Government, is
13   not permitted to discriminate against an employee on the basis of their age in
14   making employment decisions.
15          38. Based on the facts above, Plaintiff can show that the Agency
16   terminated him due to his age.
17          39. As the Plaintiff can show the above elements of his claim, he can prove
18   his prima facie case.
19          40. Additionally, as shown in the facts stated above, the Defendant did not
20   remedy any discrimination that was reported by the Plaintiff.
21          41. The Defendant does not have a legitimate non-discriminatory reason to
22   justify its actions, based on the facts alleged.
23          42. Even if the Defendant’s produce a reason for the discriminatory
24   actions, that reason is simply pretext for discrimination Based on the facts alleged.
25          43. Based on the above these actions constituted discrimination, to which
26   the Plaintiff suffered damages as the proximate cause and as such Plaintiff is
27   entitled to damages as prayed for below
28



                                                        -5-
     ________________________________________________________________________________________________________

                                                    Complaint
     Case 3:19-cv-01128-WQH-BGS Document 1 Filed 06/17/19 PageID.6 Page 6 of 7




1                                        THIRD CAUSE OF ACTION
2                                  [Discrimination on the basis of disability]
3           44. Plaintiff realleges all paragraphs above and incorporates them herein
4    by reference.
5           45. This cause of action is pursuant to the Rehabilitation Act.
6           46. Under the Rehabilitation Act, an employer, including the Federal
7    Government, is not permitted to discriminate against an employee on the basis of
8    their disability in making employment decisions.
9           47. Plaintiff is a disabled individual.
10          48. Based on the facts above, Plaintiff can show that the Agency
11   terminated him due to his disability.
12          49. As the Plaintiff can show the above elements of his claim, he can prove
13   his prima facie case.
14          50. Additionally, as shown in the facts stated above, the Defendant did not
15   remedy any discrimination that was reported by the Plaintiff.
16          51. The Defendant does not have a legitimate non-discriminatory reason to
17   justify its actions, based on the facts alleged.
18          52. Even if the Defendant’s produce a reason for the discriminatory
19   actions, that reason is simply pretext for discrimination Based on the facts alleged.
20          53. Based on the above these actions constituted discrimination, to which
21   the Plaintiff suffered damages as the proximate cause and as such Plaintiff is
22   entitled to damages as prayed for below
23

24          WHEREFORE Plaintiff prays for judgment against defendants, and each of
25    them, as follows:
26    On ALL CAUSES OF ACTION:
27          1.      For compensatory damages according to proof;
28



                                                        -6-
     ________________________________________________________________________________________________________

                                                    Complaint
     Case 3:19-cv-01128-WQH-BGS Document 1 Filed 06/17/19 PageID.7 Page 7 of 7




1           2.      For emotional distress damages according to proof subject to the
2                   statutory maximum of $300,000.00;
3           3.      Reinstatement to his position, or alternatively, future wage damages;
4           4.      For attorney’s fees pursuant to 42 U.S.C. § 2000e-5(g)(1), 29 U.S.C. §
5                   216(b) for ADEA, the Rehabilitation Act, section 504 or any other
6                   statutory authority (if later applicable).
7           5.      For costs of suit herein incurred; and
8           6.      For such further relief as the Court deems proper.
9

10
     DATED: 06/14/2019                                       PRATO & REICHMAN, APC
11

12
                                                             __/s/ Justin Prato Esq.______
13
                                                             By: Justin Prato Esq..
14                                                           Prato & Reichman, APC
15
                                                             Attorneys for Plaintiff

16

17

18

19

20

21

22

23

24

25

26

27

28



                                                        -7-
     ________________________________________________________________________________________________________

                                                    Complaint
